        Case 3:22-cv-00178-SDD-SDJ            Document 237        02/13/24 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, REV. CLEE
 EARNEST LOWE, DR. ALICE
 WASHINGTON, STEVEN HARRIS, BLACK
 VOTERS MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,

                               Plaintiffs,             Civil Action No. 3:22-cv-00178
                                                       SDD-SDJ
 v.

 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,

                               Defendant.


                 PLAINTIFFS’ MOTION FOR SPECIAL ELECTION AND
                        EXPEDITED BRIEFING SCHEDULE

       Pursuant to Local Civil Rule 7 and the Court’s February 8, 2023 Order, Plaintiffs—Dr.

Dorothy Nairne, Rev. Clee Earnest Lowe, Dr. Alice Washington, Steven Harris, Black Voters

Matter Capacity Building Institute, and Louisiana State Conference of the NAACP—respectfully

move for an order requiring the State to hold a special election for the Louisiana state legislature

in November 2024 concurrent with other elections on the calendar, using new remedial maps either

drawn by the Louisiana Legislature or this Court. Plaintiffs also move for an expedited briefing

schedule on this motion to ensure that new maps can be adopted and a special election can be

conducted in a timely and orderly manner. Plaintiffs’ memorandum in support of this motion and

proposed orders granting expedited briefing and a special election are attached.


Date: February 13, 2024                          Respectfully submitted,


                                                 /s/ Megan C. Keenan                  .
       Case 3:22-cv-00178-SDD-SDJ          Document 237        02/13/24 Page 2 of 2




Leah Aden (admitted pro hac vice)             Megan C. Keenan (admitted pro hac vice)
Stuart Naifeh (admitted pro hac vice)         Sarah Brannon (admitted pro hac vice)*
Victoria Wenger (admitted pro hac vice)       American Civil Liberties Union Foundation
NAACP Legal Defense & Educational Fund        915 15th St. NW
40 Rector Street, 5th Floor                   Washington, DC 20005
New York, NY 10006                            sbrannon@aclu.org
laden@naacpldf.org                            mkeenan@aclu.org
snaifeh@naacpldf.org
vwenger@naacpldf.org                          Sophia Lin Lakin (admitted pro hac vice)
I. Sara Rohani (admitted pro hac vice)        Dayton Campbell-Harris (admitted pro hac
NAACP Legal Defense & Educational Fund        vice)*
700 14th Street, Suite 600                    Garrett Muscatel (admitted pro hac vice)
Washington, DC 20005                          American Civil Liberties Union Foundation
srohani@naacpldf.org                          125 Broad Street, 18th Floor
                                              New York, NY 10004
John Adcock (La. Bar No. 30372)               slakin@aclu.org
Adcock Law LLC                                dcampbell-harris@aclu.org
Louisiana Bar No. 30372                       gmuscatel@aclu.org
3110 Canal Street
New Orleans, LA 701119                        T. Alora Thomas-Lundborg (admitted pro hac
jnadcock@gmail.com                            vice)
                                              Daniel J. Hessel (admitted pro hac vice)
Michael de Leeuw (admitted pro hac vice)      Election Law Clinic
Amanda Giglio (admitted pro hac vice)         Harvard Law School
Robert Clark (admitted pro hac vice)          6 Everett Street, Ste. 4105
Cozen O’Connor                                Cambridge, MA 02138
3 WTC, 175 Greenwich St., 55th Floor          tthomaslundborg@law.harvard.edu
New York, NY 10007                            dhessel@law.harvard.edu
MdeLeeuw@cozen.com
AGiglio@cozen.com                             Nora Ahmed
                                              NY Bar No. 5092374 (admitted pro hac vice)
Josephine Bahn (admitted pro hac vice)        Pronouns: she, her, hers
Cozen O’Connor                                ACLU Foundation of Louisiana
1200 19th Street NW                           1340 Poydras St, Ste. 2160
Washington, D.C. 20036                        New Orleans, LA 70112
JBahn@cozen.com                               (504) 522-0628
                                              nahmed@laaclu.org

                                              Ron Wilson (La. Bar No. 13575)
                                              701 Poydras Street, Suite 4100
                                              New Orleans, LA 70139
                                              cabral2@aol.com

                                               *Practice is limited to federal court.

                                  Attorneys for Plaintiffs


                                              2
